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                           UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON


                               PENDLETON DIVISION



                                                Case No.:
CAROL DURBIN,                                                 CV10-1519                        SU
                                                COMPLAINT;
              Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
      vs.                                       ACT (15 USC § 1692a, etseq.);

BISHOP, WHITE, MARSHALL &                       DEMAND FOR JURY TRIAL
WEIBEL,P.S.,

              Defendant.



                                 L INTRODUCTION

      1.      This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter "FDCPA").

                                 H. JURISDICTION


      2.      Plaintiff's claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a "federal question" pursuant to 28 USC § 1331.


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                                      HI. PARTIES


      3.       Plaintiff, Carol Durbin ("Plaintiff"), is a natural person residing in Malheur

County, Oregon.

      4.       Defendant, Bishop, White, Marshall &. Weibel, P.S., ("Defendant") is a

corporation engaged in the business of collecting debts by use ofthe mails and telephone.

Defendant regularly attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS


      5.       Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. §

1692a(6).

      6.       Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

      7.       All activities of Defendant set out herein were undertaken in connection

with the collection of a "debt," as defined by 15 USC § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

       9.      Falsely representing the character, amount, or legal status of Plaintiffs

debt. Defendant filed suit against Plaintiff for a debt allegedly due and owing to

Discover Bank. The amount owing on the debt was alleged in the Complaint to be

$5574.54. However, a large portion of that debt (approximately $1000) was incurred

through cash advance transactions that were a documented result of identify theft. The

cash advances were allegedly taken out in the name of co-account-holder and account


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originator Douglas Shaver. However, Douglas Shaver was deceased at the time the cash

was advanced, so the transactions must have been the result of identity theft. Plaintiff

provided proofto Discover prior to the suit being filed, and Defendant, on knowledge and

belief, had access to these records prior to determining the appropriate amount to demand

from Plaintiff(§ 1692e(2XA));

       10.     Using false representations and deceptive practices in connection with

collection of an alleged debt from Plaintiff, including making false representations to a

court-appointed arbitrator regarding Plaintiff's alleged failure to respond to Defendant's

request that Plaintiff provide input regarding her choice of arbitrator. Defendant sent a

letter to Plaintiff dated September 20, 2010. The Sep. 20 letter stated that Plaintiff must

provide to Defendant's office a list of available dates and Plaintiff's selection for

arbitrator. The letter also stated that the selection was due no later than October 6,2010,

and that if Defendant did not hear from Plaintiff at least three working days prior to that

date, it would submit its selection. Plaintiff submitted the requested documentation and

such was received on October 4, 2010, according to US Certified Mail receipt.

Defendant then sent a letter dated October 5, 2010, which certified to the court that as of

that date (October 5) Defendant had not received any communication from Carol Durbin,

which was untrue (1692e(10)).

       11.     As a result of the aforementioned violations, Plaintiff suffered injuries to

Plaintiffs feelings, personal humiliation, embarrassment, mental anguish and emotional

distress.



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       12.     Defendant's misrepresentations materially affected Plaintiffs ability to

make decisions with regard to the alleged debt and the action against Plaintiff for that

debt

       13.     To the extent Defendant's actions, detailed in paragraphs 8-10, were carried

out by an employee ofDefendant, that employee was acting within the scope ofhis or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       14.     Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       15.     The preceding paragraphs state a primafacie case for Plaintiff and against

Defendant for violations of the FDCPA, §§ 1692e(10) & 1692e(2)(A).

                                 PRAYER FOR RELIEF


       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratoryjudgment that Defendant's conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 USC 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       D.      Costs, disbursements and reasonable attorney's fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

       E.      For such other and further relief as may be just and proper.




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    PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY




                                Dated this 13th day ofDecember, 2010.


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